Case 2:05-cr-20122-SH|\/| Document 36 Filed 07/07/05 Page 1 of 2 Page|q[_)_ 39
aaa w BY wig o.a
United States District Court

Western District of Tennessee

am%usm%

United States of America ) wolf lfi. ..E
)
vs )
)
Brenda Colbert ) Case N0.05-20122-02 D

CONSENT TO MODIFY C()NDITIONS OF RELEASE

I, Brenda Colbert , have discussed With Angela K. Yates, Pretrial Services Officer,
modification of my release conditions as follows:

1) Participate in mental health treatment if` deemed advisable by the Pretrial Services Office

l consent to this modification of my release conditions and agree to abide by this modification

iR/\LMC)@ Cr,laaet“ MQUSM%L/¢£a q/Q/Q§

Signature Of Defendant Date Pretrial ServicesfProbationUff`icer Date

I have revleed;ht@ndltlons with my client and concur that this modification is appropriate

é/Z€/Q§/

Signature of Defense Counsel Date

[ e above modification of conditions of release is ordered, to be effective on 7-- 6 -.Mv:t'__/

[ ] The above modification of conditions of release is n_ot ordered.

 

Si alure of Judicial Of`f`lcer Date

This document entered on

. the doc
with F=tu|e 55 and/m 32( ket she `F\]:\

b) frach on

L`COH,F; '

 

 

 

 

 

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 36 in
case 2:05-CR-20122 Was distributed by f`aX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Craig V. Morton
MORTON & GERMANY
200 Jefferson Ave.

Ste. 725

l\/lemphis7 TN 38103

J ames M. Allen
FILDERMAN & ALLEN
46 N. Third St.

Ste. 725

l\/lemphis7 TN 38103

William D. Massey
MASSEY & MCCLUSKY
3074 East Street

l\/lemphis7 TN 38128

Honorable Bernice Donald
US DISTRICT COURT

